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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                               AUSTIN DIVISION


NETLIST, INC.,

                   Plaintiff,             Civil Action No. 1:22-cv-00136-LY

v.                                       JURY TRIAL DEMANDED

MICRON TECHNOLOGY, INC., MICRON
SEMICONDUCTOR PRODUCTS, INC., and
MICRON TECHNOLOGY TEXAS LLC,

                   Defendants.


     PLAINTIFF’S RESPONSE TO DEFENDANTS’ MOTION TO TEMPORARILY LIFT
          STAY AND MOTION FOR LEAVE TO FILE AN AMENDED ANSWER,
                 AFFIRMATIVE DEFENSES, AND COUNTERCLAIMS
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I.     INTRODUCTION

       Micron’s false accusations of “forum shopping” and “end-running the stay” are

particularly ironic given Micron’s own actions here and in the Eastern District of Texas. Rather

than file its proposed counterclaims in EDTX, where the subject patents are already in active

litigation, Micron seeks to sneak those patents into this stayed case through the back door.

Micron’s Motion is a transparent attempt to avoid litigating in EDTX, which is a proper forum

for those patents, and delay resolution of Netlist’s infringement allegations as long as possible.

       First, the Court should deny Micron’s request to temporarily lift the stay to litigate a

motion that, if granted, would give Micron a significant strategic advantage in this case. Framing

its cursory request as “temporary” makes clear that Micron wants the Court to open the door just

wide enough to add patents from active EDTX litigations and then shut the door again

immediately, forcing the new patents into a stayed case. Allowing Micron to assume this

unilateral power over the conduct of the lawsuit would put Netlist at an extreme disadvantage

once the stay is permanently lifted.

       In addition, Micron’s “Motion” to temporarily lift the stay consists of nothing more than

two cursory mentions in the introduction and conclusion sections of the brief. Instead of

analyzing (or even mentioning) the factors the Federal Circuit instructs courts to consider in

determining whether to lift a stay, Micron devotes the entirety of its brief to the substance of its

Motion for Leave to Amend to File an Amended Answer, Affirmative Defenses, and

Counterclaims (“Motion for Leave”). Regardless, all the factors weigh against temporarily lifting

the stay, and the Court can—and should—deny Micron’s entire Motion on this basis.




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        Second, while the merits of Micron’s Motion for Leave should not be considered

unless/until the stay is lifted, 1 in an abundance of caution, Netlist sets forth herein its opposition

to that substantive motion, as well. At the outset, Micron’s proposed amendment is futile. Micron

failed to bring compulsory counterclaims for non-infringement in the EDTX lawsuits, and has

therefore waived those counterclaims in any other proceeding, including this one. Micron also

misapplies the first-to-file rule and cannot show that it meets the requirements to apply the

relation back doctrine. As a result, the EDTX patents must be maintained in EDTX. The

proposed amendment would also be unduly prejudicial to Netlist since the case was stayed on the

even of the claim construction hearing and adding new patents would only extend the timeline

once the stay is permanently lifted. And Micron seeks this amendment in bad faith—as a tactical

advantage to delay resolution of Netlist’s infringement allegations. The Court should reject

Micron’s ploy and deny the Motion for Leave.

II.     ARGUMENT

        A. The Court Should Deny Micron’s Request to Temporarily Lift the Stay

                1. Micron Seeks to Temporarily Lift the Stay to Gain a Tactical Advantage

        On May 11, 2022, pursuant to Micron’s request and over Netlist’s opposition, the Court

stayed this case “pending further order of the court” after Micron filed IPR petitions challenging

the asserted patents. (Dkt. 69 at 4.) The stay remains in place as of the time of this filing.

        Micron’s motive for seeking to only temporarily lift the stay is to delay resolution of

Netlist’s infringement allegations as long as possible. Lifting the stay to allow Micron’s

proposed amendment would result in seven patents currently in active litigation in EDTX

becoming part of this case—a case that is presently stayed. Micron’s ploy is doubly problematic


1
 See Netlist’s concurrently filed Motion for Protective Order Regarding Micron’s Motion for
Leave to Amend (Dkt. 72), at Dkt. 73.

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considering IPR proceedings have not been instituted against any of the EDTX patents—and not

even filed against two of them—which means there is no reasonable basis to stay all litigation

proceedings involving those patents. Temporarily lifting the stay here to bring the EDTX patents

into this case and then immediately resuming the stay would delay adjudication of claims

actively being litigated in EDTX. The Court should not reward Micron’s scheme to gain an

strategic advantage by “temporarily” lifting the stay that Micron requested in the first place.

               2. Micron Failed to Analyze the Factors Courts Must Consider in
                  Determining Whether to Lift a Stay

       Micron also fails to provide the Court with any explanation for why lifting the stay is

procedurally proper at this time. Despite cursorily styling its brief (in part) as a Motion to

Temporarily Lift Stay, Micron does not devote a single word of its sixteen-page motion to

analyzing, or even mentioning, the factors courts consider in deciding whether to lift a stay.

Instead, Micron skips that critical step to focus entirely on arguments related to its Motion for

Leave. Further, since Micron should have, but chose not to, analyze the Federal Circuit and

district court case law relating to motions to lift stays, it should not be permitted to address this

issue on reply. See Austin v. State Farm Lloyds, No. 16-cv-447-DAE, 2018 WL 1605755, at *1

n.2 (W.D. Tex. Jan. 2, 2018) (disregarding new arguments because “[t]he point of a reply brief is

to reply to the non-movant’s arguments, not raise new arguments to which the non-movant will

not have an opportunity to respond”).

               3. Under the Murata Factors, the Court Should Deny Micron’s Request to
                  Temporarily Lift the Stay

                       a) Legal Standard

       “The ability to stay cases is an exercise of a court’s inherent power to manage its own

docket,” Procter & Gamble Co. v. Kraft Foods Glob., Inc., 549 F.3d 842, 848-49 (Fed. Cir.

2008) and “a court that imposes a stay of litigation has the inherent power and discretion to lift


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the stay.” Canady v. Erbe Elektromedizin GmbH, 271 F. Supp. 2d 64, 74 (D.D.C. 2002). The

Federal Circuit has instructed that “[a] court may lift a stay if the circumstances supporting the

stay have changed such that the stay is no longer appropriate.” Murata Machinery USA v.

Daifuku Co., 830 F.3d 1357, 1361 (Fed. Cir. 2016). District courts typically consider the same

factors in deciding whether to lift a stay as when deciding whether to implement one: “(i)

whether a stay would unduly prejudice or present a clear tactical disadvantage to the non-moving

party; (ii) whether a stay will simplify the issues in question and trial of the case; and (iii)

whether discovery is complete and whether a trial date has been set.” Id.; see also DivX, LLC v.

Netflix, Inc., No. 19-1602, 2022 WL 1208167, at *3 (C.D. Cal. Mar. 29, 2022) (“When

determining whether to lift an existing stay, courts typically apply the same standard that applies

to determine whether to impose a stay in the first place.”). Courts may also consider the totality

of the circumstances, including the burden of litigation on the court and the parties. Id. at 1362.

        This Court considered the Murata factors in reaching its decision to stay this case. None

of the relevant circumstances have changed since that time. Accordingly, based on the Federal

Circuit’s opinion in Murata and subsequent district court cases applying that decision, lifting the

stay, even temporarily, is not the appropriate outcome for Micron’s Motion.

                        b) Factor 1: “Whether a stay would unduly prejudice or present a
                           clear tactical advantage to the non-moving party”

        In its Order Granting Stay, the Court found that a stay would not unduly prejudice or

present a clear tactical disadvantage to Netlist and agreed with Micron that a stay pending the

PTAB’s institution decisions would not present a significant delay. (Dkt. 68 at 2.)

        Since then, the IPR proceedings have resulted in a mixed bag of institution decisions. Of

the five petitions Micron filed, two have been instituted, one has been denied (though Micron has

requested rehearing), and two are yet to be decided. See Micron Tech., Inc. v. Netlist Inc.,



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IPR2022-00236 (Paper 16), IPR2022-00237 (Paper 15), IPR2022-00418 (Paper 14). The IPR

proceedings will continue, at least for some of the asserted patents in this action, for at least the

next ten months. Therefore, none of the facts underlying the Court’s decision on this factor have

changed since the Court rejected Netlist’s arguments and granted Micron’s requested stay.

       Even if the Court considers Micron (the party that originally sought the stay) to be the

“non-moving party” that may be prejudiced if the stay is maintained, that would not change the

analysis. Importantly, Micron has not demonstrated, or even attempted to demonstrate, that it

would be prejudiced by keeping the stay in place at present. Additionally, in its Motion to Stay,

Micron represented to the Court, and the Court agreed, that there would be no prejudice from

pausing this case because “if the IPRs do institute, then both parties will benefit by having the

case dispositive issues resolved by specially trained IPR judges without having to start devoting

expensive resources to discovery and other issues in this parallel litigation.” (Dkt. 58 at 5

(emphasis added).) Granting Micron’s request would mean disregarding Micron’s reasons for

urging the Court to enter a stay in the first place. It would also mean the stay can be temporarily

lifted not when circumstances supporting the stay have changed, but whenever it will benefit

Micron. That is not the law under Murata.

       Moreover, Micron proffered no explanation for why it needs resolution on its Motion for

Leave now, while the stay is in place, rather than after the PTAB proceedings are resolved and

the stay is properly lifted at that time. As Micron points out, the Court has not yet set a deadline

to amend pleadings. (Mot. at 7.) Certainly, amending its answer now would give Micron a

tactical advantage by allowing it a de facto transfer of patents from the active cases in EDTX to

this stayed case. But refusing to give Micron that advantage would not cause it undue prejudice.




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                       c) Factor 2: “Whether a stay will simplify the issues in question and
                          trial of the case”

       In granting the stay, the Court also agreed with Micron that a stay would simplify the

issues in question, noting that “Micron’s petitions cover all the asserted claims in each Asserted

Patent, and the PTAB’s decisions may significantly streamline the issues before the court.” (Dkt.

68 at 3.) Nothing has changed in this respect. As explained above, the PTAB is reviewing

validity arguments for some of the asserted patents, has denied institution for one patent, and

may still institute review in the other two proceedings. Micron, the party that initiated the PTAB

proceedings and asked the Court to stay this case while they are decided, cannot now reverse its

position to argue that these still-pending proceedings will not simplify the issues in this case.

                       d) Factor 3: “Whether discovery is complete and whether a trial date
                          has been set”

       The Court also found that the status of the litigation weighs in favor of a stay, noting that

it had not yet entered a scheduling order or set a trial date, and the parties had not conducted

discovery aside from the issue of venue. (Dkt. 68 at 4.) This has not changed since the stay was

instituted – aside from Micron’s present Motion for Leave, the parties have made no substantive

filings in this case and have not re-commenced discovery.

                       e) Other factors

       The Court did not explicitly consider other factors in its decision to stay the case. But no

other circumstances relating to the present litigation have changed since the stay issued. Lifting

the stay to entertain Micron’s Motion for Leave is not just or appropriate at this time. See, e.g.,

Murata, 830 F.3d at 1361; see also Baxter Healthcare Corp. v. Becton, Dickinson and Co., No.

3:17-cv-2186, 2021 WL 22553, at *4 (S.D. Cal. Jan. 4, 2021) (refusing to lift stay because “[t]he

circumstances under which the Court granted the stay have not changed significantly”). The

Court can, and should, deny the entirety of Micron’s Motion on this basis.


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       B. Micron Should Not Be Granted Leave to Amend

       If the Court denies Micron’s request to temporarily lift the stay (as it should), it need not

consider Micron’s substantive Motion for Leave to Amend. However, if the Court decides to

reach the merits of the Motion for Leave, it should also deny that Motion.

               1.   Legal Standard

       The generous standard that courts should freely give leave to amend when justice so

requires, FED. R. CIV. P. 15(a)(2), is tempered by the necessary power of a district court to

manage a case. See Leal v. McHugh, 731 F.3d 405, 417 (5th Cir. 2013). And leave to amend is

not automatic. Halbert v. City of Sherman, 33 F.3d 526, 529 (5th Cir. 1994). Leave to amend can

be denied when there is a valid justification such as futility of the amendment, repeated failures

to cure deficiencies by amendments previously allowed, undue prejudice to the opposing party,

and bad faith or dilatory motive on the part of the movant. See Jones v. Robinson Property

Group, L.P., 427 F.3d 987, 994 (5th Cir. 2005).

               2. Micron’s Proposed Amendment Is Both Futile and an Improper Attempt
                  to Cure its Failure to Plead Counterclaims in EDTX

                       a)   Micron’s Proposed Amendment Is Futile

       Micron claims that its proposed amendment is not futile because its proposed

counterclaims “state a plausible claim for relief.” (Mot. at 15.) But Micron neglects to mention

that it failed to plead these proposed counterclaims as compulsory counterclaims in the EDTX

cases, which it was required to do. Since it has now waived its ability to bring those

counterclaims, Micron’s proposed amendment would be wholly futile here.




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       Although Micron’s answering pleading in the first EDTX case 2 is styled “Defendants’

Answer, Affirmative Defenses, and Counterclaims to Plaintiff’s Complaint,” Micron did not

actually assert any counterclaims in that pleading. (See Exh. A.) Micron also did not bring any

counterclaims in the second EDTX lawsuit. 3 (See Exh. B.) And Micron has never amended its

pleadings in either lawsuit to include counterclaims. Simply put, Micron has not counterclaimed

for declaratory judgment of non-infringement of the EDTX patents it seeks to introduce here in

either EDTX lawsuit. This is fatal to Micron’s Motion for Leave because declaratory judgment

counterclaims of non-infringement are compulsory counterclaims to infringement claims and, if

not pled, are deemed waived in all litigations.

       A pleading must “state as a counterclaim any claim that—at the time of its service—the

pleader has against an opposing party if the claim: (A) arises out of the transaction or occurrence

that is the subject matter of the opposing party’s claim; and (B) does not require adding another

party over whom the court cannot acquire jurisdiction.” FED. R. CIV. P. 13(a)(1). The Fifth

Circuit has further clarified that a counterclaim meets the “transaction or occurrence” prong

when, inter alia, there is any logical relationship between the claim and counterclaim. See Park

Club Inc. v. Resolution Trust Corp., 967 F.2d 1053, 1058 (5th Cir. 1992).

       Courts agree that declaratory judgment counterclaims are compulsory counterclaims to

infringement claims of the same patent(s) because they are logically related. See, e.g., Hologram

USA, Inc. v. Pulse Evolution Corp., No. 2:14-CV-0772, 2017 WL 444528, at *2 (D. Nev. Jan.

31, 2017) (“district courts routinely hold that a declaratory judgment claim for noninfringement




2
  Netlist Inc. v. Micron Tech., Inc., Civil Action No. 2:22-cv-00203-JRG-RSP (E.D. Tex., filed
June 10, 2022) (hereinafter, “first EDTX lawsuit”).
3
  Netlist Inc. v. Micron Tech., Inc., Civil Action No. 2:22-cv-00294-JRG-RSP (E.D. Tex., filed
August 1, 2022) (hereinafter, “second EDTX lawsuit”).

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is a compulsory counterclaim to claims of infringement of the same patent”); Leap Wireless Int’l,

Inc. v. MetroPCS Comm’ns, Inc., No. 2:06-CV-240, 2007 WL 541428, at *4 (E.D. Tex. Feb. 15,

2007) (explaining that a logical relationship exists between declaratory judgment counterclaims

and original patent infringement claims involving the exact same patents-in-suit); see also 6 C.

Wright, A. Miller & M. Kane, Fed. Prac. & Proc. § 1410, at 73 (2d ed. 1990) (“Any

counterclaim involving the same patent as involved in the original action usually is considered to

arise from the same transaction as the main claim.”). And the law is well-settled that a party’s

failure to file a compulsory counterclaim waives the claim in future litigation. See The Coca-

Cola Co. v. Pepsi-Cola Co., 500 F. Supp. 2d 1364, 1373-74 (N.D. Ga. 2007).

       Since Micron failed to bring declaratory judgment counterclaims for non-infringement in

the EDTX lawsuits, it has waived its ability to bring those claims in this proceeding. The Court

may deny leave to amend on this point alone, since Micron’s waiver renders the proposed

amendment futile. See Legate v. Livingston, 822 F.3d 207, 211 (5th Cir. 2016) (affirming denial

of leave to amend because “a district court need not grant a futile motion to amend”). Even if the

Court does not find this factor to be dispositive, it weighs strongly against Micron.

                       b) Micron’s Proposed Amendment Is Also an Improper Attempt to
                          Cure its Failure to Allege Counterclaims in EDTX

       Micron claims its proposed amendment is not sought to “fix any deficiencies in Micron’s

previous counterclaims” in this case, yet admits that the instant Motion is an attempt to correct

deficiencies in the EDTX cases. (Mot. at 15 (“Micron seeks to add these counterclaims in

response to Netlist’s complaints filed in the Eastern District of Texas”.) Micron failed to bring,

and so waived, its compulsory counterclaims in the EDTX cases. Instead of moving to amend in

EDTX to remedy that failure, Micron instead attempts to bring the EDTX patents into this stayed

case. The Court may, and should, deny leave to amend where, as here, the amendment is sought



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to cure prior deficiencies. See, e.g., Simmons v. Sabine River Authority Louisiana, 732 F.3d 469,

478 (5th Cir. 2013). This factor also weights strongly against Micron.

               3. Netlist Would Suffer Undue Prejudice if Amendment Is Allowed

                       a)   The Technology Underlying the WDTX and EDTX Patents Is
                            Different

       All of Micron’s “first-to-file” arguments depend on a finding that the WDTX and EDTX

patents are so similar as to be considered essentially the same set of patents. But in determining

whether to allow amendment to include new patents, courts must consider all the Anza factors,

including the underlying science and technology (a factor Micron failed to address in its Motion

for Leave). In a case involving five of the seven patents EDTX patents Micron seeks to add, the

District of Delaware recently dismissed declaratory judgment counterclaims for those EDTX

patents, finding insufficient overlap in accused products and the underlying science and

technology compared to other memory-related patents at issue there. (See Exh. D.) That court

reasoned

       [t]echnology such as memory modules can be described with varying levels of
       granularity. Some descriptions are so broad as to be meaningless. Others are so
       technical that every patent is distinguishable. In this case, I think that Samsung’s
       characterization of the underlying technology as “computer memory modules” is
       too broad to support relation back. As Netlist argues, “under Samsung’s theory its
       original complaint would sweep in every patent that Netlist ever obtains relating to
       the memory modules.”

(Id. at 10); see also Halo Elecs., Inc. v. Bel Fuse Inc., No. 07-cv-6222, 2008 WL 1991094, at *3

(N.D. Cal. May 5, 2008). This Court should make a similar finding here. 4




4
 Like Samsung in Delaware, Micron here takes the broad approach by arguing that the patents
are “directed toward the same underlying technology,” and wrongly characterizing the
WDTX/EDTX cases as sharing “related technology and accused products” and involving “the
same DIMM technology.” (Mot. at 11, 13).

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                              i.   The PMIC Patents (ʼ918/ʼ054) Are Directed to DDR5

       The PMIC patents are directed to a new feature found only in DDR5 DIMMs: power

management integrated circuits (“PMICs”) that are located on the memory module. Bringing the

PMIC function onto the module itself “marks a radical change in voltage regulation” from earlier

generation DDR4 DIMMs, where power was managed by the motherboard. (See Exh. E at 3.)

There is no substantial overlap with any of the patents at issue here.

       First, the accused products in the WDTX actions are DDR4 DIMMs. (See Dkt. 1.) In

contrast, in the EDTX Action, Netlist has asserted the PMIC patents only against DDR5 DIMMs.

(See Exh. C at ¶¶ 39, 44.) As such, the PMIC patents require a substantially different evidentiary

burden to prove infringement. (Compare, e.g., Dkt. 1 (citing JEDEC DDR4 standards including

JESD 82-32A; JESD79-4B; JESD 79-4C; JESD82-31A; JEDEC No. 21C) with Ex. C at ¶¶ 96-

99 (citing JEDEC DDR5 standards including JESD 301; JESD 79-5; JESD 82-511).)

       Second, the claims of the PMIC patents recite the use of multiple on-module “buck

converters” which are each configured to produce a “regulated voltage” for use with components

in the memory module. See ’918 cl.1, ’054 cl.1. By contrast, even the claims of the related ’833

patent are directed at an entirely different invention requiring different clock frequencies

depending on the mode of operation (see ’833, cl. 1.), which would concern data and control

signal exchange, not the on-module power management system claimed in the PMIC patents.

       Third, because of the fundamental differences in technology and products, the PMIC

patents (DDR5 DIMMs) and WDTX patents (DDR4 DIMMs) will also not overlap in their

damages analyses.

                             ii.   The Remaining EDTX/WDTX Patents Are Distinct

       Additionally, Netlist has asserted the following sets of patents across the two actions,

which implicate distinct advances in DDR4 memory module technology:


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           •   EDTX: 10,949,339, 10,860,506, 7,619,912, 9,858,215, 11,093,417.

           •   WDTX: 9,824,035 and 10,268,608, 10,489,314.

       First, the ’339 patent at issue in EDTX is in a different family than any other asserted

patent here. It is directed to a class of products called LRDIMM, which includes a set of data

buffers between the DIMM interface 5 and the DRAM devices. Data buffers help reduce the

electrical load experienced by a host system from the memory module and hence improve the

signal integrity. The claims of the ʼ339 patent concern timed enablement (and disablement) of

write/read data paths through data buffers in accordance with latency parameters to drive data

from one end of the data buffer to the other. The data path enablement/disablement includes the

times enablement/disablement of tristate buffers on the data paths. No WDTX patent claims

byte-wise buffers that include logic configured to control the timed enablement/disablement data

path(s) through each of the data buffer circuits.

       For example, the ’314 patent at issue here relates separately to regulating the timing of

data bursts and data strobe signals sent from a controller to the memory module “at a specified

data rate” in response to a command from the host. See, e.g., ’314, cl. 1. The ’035 and ’608

patent claims recite the use of on-buffer logic or circuitry to control, not when data paths through

the data buffers are to be enabled or disabled, but the timing of the data and data signals on the

data paths in the data buffer. See, e.g., ’035, 19:29-45; ’608, 19:36-55.

       Second, the fact that the ’506 is a continuation of the ’608 and ʼ035 patents does not

require that they be litigated by the same court in the same proceeding. See SIPCO, LLC v.

Emerson Elec. Co., No. 15-cv-907, 2016 WL 7743496, at *3 (E.D. Tex. Jul. 1, 2016) (“Merely




5
 A memory module, such as dual-inline memory module (DIMM), interfaces with a host system
via the DIMM interface.

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stating that the patents in the second-filed case are in the same patent family as the patents in

the first-filed case is not sufficient to demonstrate substantial similarity under the first-to-

file rule.”). Moreover, the ʼ506 patent specifically requires that the data buffer delay, by a

predetermined amount, a “read strobe signal” 6 which is a signal that relates to timing. See ʼ506,

cl. 1. The ʼ035 and ʼ608 patents do not have such requirements. See ʼ608, cl. 1; ʼ035, cl. 1.

        Third, the ’912 patent at issue in EDTX implicates the operation of the registering clock

driver (“RCD”), not the data buffers on a buffered memory module. An RCD is a controller on

the memory module that receives control/address/clock signals from the host and outputs

registered control/address/clock signals to DRAM devices. The ’912 patent reads on rank

multiplied DIMMs with features relating to the per-DRAM addressability feature introduced in

DDR4. 7 It has nothing to do with the operation of distributed data buffers in LRDIMMs, at issue

for the ʼ035, ʼ608, and ʼ314 patents currently pending in this case.

        Fourth, though related, the ’215 and ’417 patents (EDTX) and the ’314 patent (WDTX)

are also technically distinct. There are no terminal disclaimers filed among the patents, indicating

that the examiner(s) did not consider the claims patentably indistinct. In contrast to the ʼ314




6
  Strobe signals are sent to validate data or other signals on adjacent parallel lines.
7
  Rank multiplication refers to a situation where a memory module has n physical ranks of
memory devices, but is presented to the host as a memory module with only m ranks (where m is
less than n). This can potentially be simply the signaling from the host side while expanding the
memory capacity on the memory module or allowing the memory modules to use less expensive
memory devices with lower individual capacity. For example, instead of using 2 ranks of eight
256MB DRAMs, the memory module can use 4 ranks of 128MB DRAMs.

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patent, neither the ʼ215 nor the ʼ417 requires a first or second “burst of data strobes,” much less

respective bursts of data strobes that are transferred at a specified data rate. 8

        Going beyond the broad strokes of Micron’s misleading arguments highlights the

technical distinctions between the EDTX patents and WDTX patents and disproves the notion

that all these patents are “materially similar” and “overlapping.” (Mot. at 1, 4.) And, once

Micron’s argument regarding the alleged similarity of the EDTX and WDTX patents falls,

Micron’s first-to-file argument falls behind it.

                        b) Micron Misapplies the First-to-File Rule

        Federal Circuit precedent disposes of Micron’s first-to-file arguments. For example, in In

re ASM Int’l, N.V., ASM and HiKE counter-sued for patent infringement in the Northern District

of California. 774 F. App’x 650 (Fed. Cir. 2019). Two months later, HiKE sued ASM in the

District of Oregon, alleging that the same products infringed four different patents. Id. at 651.

ASM moved to transfer the Oregon case to California under the first-to-file rule. The Oregon

court denied the motion to transfer, noting that, although the same products were at issue in both

cases, the fact that the Oregon case involved different asserted patents, claim terms, and claim

elements for highly complex products meant that the first-to-file rule was inapplicable. Id. at

651. The Federal Circuit affirmed, expressly rejecting the argument that presence of the same

products in both cases justified application of the first-to-file rule and made clear that a specific

technical analysis must occur to evaluate overlap. Id. at 652.



8
  The ’215 patent is directed to a memory module featuring on-buffer logic configured to
respond to a first or second memory command by providing first or second “control signals to
the buffer to enable communication of the first [or second] data burst” associated with each
respective command. See ’215, cl. 1. The ’417 patent claims similarly recite on-buffer “circuitry
… configurable to transfer” a burst of N-bit wide data signals between the N-bit wide memory
bus the memory devices in the one of the plurality of N-bit wide ranks “in response to the data
buffer control signals.” See ’417, cl. 1.

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       Under ASM, this lawsuit is the second-filed case as to all the EDTX patents Micron seeks

to add. First, as in ASM and as shown above, there is no meaningful overlap between the

asserted claims of the EDTX and WDTX patents. This weighs against applying the first-to-file

rule as Micron proposes. Id.; see also Netlist, Inc. v. SK Hynix Inc., No. 6:20-CV-00194-ADA,

2021 WL 2954095, at *3 (W.D. Tex. Feb. 2, 2021) (finding no “substantial overlap” where

relevant actions involved distinct claims from different patents); Pragmatus AV, LLC v. Yahoo!

Inc., No. 11-902-LPS-CJB, 2013 WL 4629000, at *11 (D. Del. Aug. 28, 2013) (“[O]ur Court has

declined to apply the first-filed rule where the patent-in-suit in the second-filed action was

different than those in the earlier-filed action, but was a continuation of and shared a common

specification with two of the patents in the earlier-filed action.”).

       Second, as also shown above, the EDTX and WDTX patents involve different underlying

technologies. And, notably, Micron failed to analyze the claims involved in the different actions

in its Motion—despite having the burden to do so. At most, Micron argues that claim 1 of the

’506 patent includes the term “module control device,” which is also found in the ’035 and ’608

patent claims. (Mot. at 13.) Micron’s cursory listing of only some of the claim terms and

elements at issue across the many distinct patents asserted in the WDTX and EDTX actions falls

far short of establishing substantial overlap.

       Third, the accused products are different. Much like the category “smartphone,”

“memory modules” encompass numerous different designs based on the generation of the

module (i.e., DDR5, DDR4, etc.) and the design of the module (i.e., LRDIMM, RDIMM,

UDIMM, SODIMM, etc.), which in turn affects not only the design of the memory devices

themselves but also the types and designs of components on the modules. Saying all memory

modules are the same is like saying all smartphones are the same—a nonsensical position.




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        For example, the ’918 and ’054 patents implicate DDR5 products, whereas the accused

products in this action implicate DDR4 products. (Compare Exh. C at ¶¶ 38-40 with Netlist’s

Compl. (Dkt. 1) at ¶¶ 55-59.) They do not overlap at all. And even where overlap exists for

products involving other patents, the accused products are highly complex and incorporate

numerous, disparate technologies—not just components related to the patented technologies.

Thus, as in ASM, the overlap in accused products does not implicate the first-to-file rule.

        Fourth, that some of the EDTX patents are in the same family as some of the WDTX

patents is insufficient to invoke the first-to-file rule. See, e.g., Netlist, Inc. v. SK Hynix Inc., No.

6:20-CV-00194-ADA, 2021 WL 2954095, at *3 (W.D. Tex. Feb. 2, 2021) (“[T]he first-to-file

rule requires far more than patents from the same family, same parties, and same accused

products.”); cf. Document Generation Corp. v. Allscripts, LLC, No. 6:08-CV-479, 2009 WL

10677279, at * 4 (E.D. Tex. May 5, 2009) (rejecting motion to transfer continuation patents with

different claims); Datamize Inc. v. Fid. Brokerage Servs., LLC, No. 2:03-cv-321-DF, 2004 WL

1683171, at *4 (E.D. Tex. Apr. 22, 2004) (related patents sharing the same specification are

nonetheless different patents that merit independent construction).

                        c) The Relation Back Doctrine Does Not Apply to Permissive
                           Counterclaims

        Even assuming that the first-to-file rule applies here, Micron must rely on the relation

back doctrine to make this the first-filed case as to the EDTX patents. But Micron’s proposed

counterclaims are not logically related to the infringement claims asserted in this case for the

reasons set forth above, and particularly because they involve completely different patents.

Indeed, not a single patent overlaps between the EDTX and WDTX actions. Thus, since

Micron’s proposed counterclaims were compulsory as to the EDTX cases (and thus waived when

omitted from its answers), the relation back doctrine does not apply. See, e.g., Roxane Lab., Inc.



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v. Abbott Lab., No. 2:12-cv-312, 2012 WL 12872690, at *2 (S.D. Ohio Aug. 21, 2012) (“This

Court, however, has stated that challenges to different patents are not compulsory counterclaims

in litigation involving related patents.”); BMC Resources, Inc. v. Paymentech, L.P., No. 3-03-

CV-1927-M, 2004 WL 981079, at *5 (N.D. Tex. May 5, 2004) (rejecting argument that

counterclaims involving the ’786 patent are compulsory in the infringement action involving the

’456 patent); BrideLux, Inc. v. Cree, Inc., No. 9:06-CV-240, 2007 WL 9724143, at *2 (E.D. Tex.

Feb. 5, 2007) (“Cree’s counterclaim involves different patents and different technologies.

Therefore, the compulsory counterclaim rule is inapplicable.”); Sea-Land Service, Inc. v. R.V.

D’Alfonso Co., 727 F.2d 1, 5 n.2 (1st Cir. 1984) (“[U]nlike a compulsory counterclaim the filing

of a permissive counterclaim is not deemed to related back.”). Accordingly, even if the first-to-

file rule applies here, this action would still be the second-filed action as to the EDTX patents.

                         d) The First-to-File Rule Cannot Apply Because Co-Pending Actions
                            Against Samsung in EDTX Also Involve the EDTX Patents

          Even if Court finds substantial overlap between this and the EDTX proceedings, the first-

to-file rule still does not apply in the way Micron alleges. Long before Netlist filed the EDTX

actions against Micron, Netlist sued Samsung in EDTX on the same patents. The first case

(“Samsung I”) 9 asserted the ’506, ’339, ’918, ’054, ’060, and ’160 patents and the second case

(“Samsung II”) 10 asserted the ’912, ’417, and ’215 patents.

          Netlist’s infringement claims against Samsung and Micron are based on similar theories

and the same claims, cover the same types of accused products, and reference substantially the

same JEDEC Standards (including different versions). (See Exhs. H, I, J, and C.) Micron’s

answer to Netlist’s complaint in their EDTX cases raises the exact same invalidity and



9
    Netlist, Inc. Samsung Elec. Co., Ltd. et al, No. 21-cv- 463-JRG (E.D. Tex. Dec. 20, 2021)
10
     Netlist, Inc. v. Samsung Elec. Co., Ltd., et. al., No. 22-cv-293-JRG (E.D. Tex. Aug. 1, 2022)

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enforcement arguments as Samsung—in fact, Micron’s and Samsung’s inequitable conduct

claims are based on almost identical language. (Compare Exh. F at ¶¶ 44-51 (Thirteenth

Additional Defense) with Exh. A at ¶¶ 28-35 (Fifteenth Affirmative Defense).)

       Samsung I is moving quickly: the parties’ claim construction briefing completes on

September 23, the Markman hearing is set for November 4, fact discovery closes on December

12, expert discovery closes on January 17, 2023, and trial is scheduled to start on May 1, 2023.

(See Exh. G.) Thus, the Eastern District of Texas will soon be very familiar with the relevant

technologies, prior art, claim language, accused products, and JEDEC standards for the ’506,

’339, ’918, ’054, ’060, and ’160 patents. Under these circumstances, having the EDTX court

adjudicate both the Samsung and Micron actions involving the identical patents will serve the

best interests of judicial efficiency and fairness. See Mobility Elecs., Inc. v. Am. Power

Conversion Corp., No. 07-cv-83, 2007 WL 9724768, at *4 (E.D. Tex. Oct. 10, 2007) (a

court’s “involvement in two related proceedings favors denying [the transfer] motion” under the

first-to-file rule because “federal courts will recognize the wisdom of allowing a judge who has

familiarity with the subject matter at issue to preside over subsequent litigation.”); Network-1

Sec. Solutions, Inc. v. D-Link Corp., 433 F.Supp.2d 795, 802 (E.D. Tex. 2006) (recognizing

advantages of having a judge “who had already construed the patent claims and examined its

voluminous file history” preside over case and therefore allowing the second-filed suit to

proceed); DataTreasury Corp. v. First Data Corp., 243 F.Supp.2d 591, 595-97 (N.D. Tex. 2003)

(finding EDTX is a better forum because related patent infringement cases were already pending

and assigned to the same judge).

                       e) Micron’s Proposed Amendment Would Unduly Prejudice Netlist

       As explained above, Micron’s motive for seeking this amendment is to move patents that

are currently involved in active EDTX litigation to this case. These patents would be subject to

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the stay in this case immediately after resolution of Micron’s Motion for Leave. This is Micron’s

plan even though IPRs have not been filed against all the EDTX patents, nor instituted against

any of them. This result would be extremely prejudicial to Netlist, as it would mean delayed

resolution of its infringement allegations, even though there is no basis for all the patents to be

subjected to a stay.

          In addition, Micron has attempted to invoke the first-to-file rule by maintaining the same

claims in two venues. Assuming it prevails on its pending motion to sever and stay the EDTX

patents in that court, Micron has not indicated whether it intends to leave the EDTX patents

pending in both districts. If it does, that result would unduly prejudice Netlist’s ability to achieve

consistent results and finality as to its infringement assertions, and presents a compelling reason

for the Court to deny leave to amend. See, e.g., Hydro-Quebec v. Valence Tech., Inc., No. A-06-

CA-111-SS (W.D. Tex. Nov. 11, 2011, Dkt. 275) (“Finally, the HQ/UT has already chosen to

bring claims based [on] the Continuation Patents in the separate Northern District suit, and

allowing Valence to bring its counterclaims to the Continuation Patents here, rather than in that

suit, risks undue prejudice in the form of fragmented and contradictory rulings and claim

constructions.”). 11

                 4. Micron Seeks Leave to Amend in Bad Faith

          While the Fifth Circuit has not propounded a specific definition of “bad faith” in the

context of motions for leave to amend, other district courts define “bad faith” in this context as

“acting with intent to deceive, harass, mislead, delay, or disrupt.” Wizards of the Coast LLC v.

Cryptozoic Entm’t LLC, 309 F.R.D. 645, 651 (W.D. Wash. 2015); see also Graybar Elec. Co. v.

Weyerhaeuser Co., No. 4:18-cv-4128, 2019 WL 12073982, at *6 (W.D. Ark. Jul. 11, 2019). As



11
     This opinion is attached as Exhibit K.

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explained above, Micron’s motive in seeking amendment is pure gamesmanship, particularly

because this case has been stayed pursuant to Micron’s own request. Micron now seeks to add

patents claiming distinct technologies from two active litigations to a stayed case to delay

resolution on Netlist’s infringement allegations for as long as possible. Such intentional delay

falls squarely within the definition of bad faith.

       Incredibly, Micron accuses Netlist of forum shopping, omitting the fact that it was

Micron that demanded the stay in this case, and is now attempting to temporarily lift the stay to

nearly triple the number of patents in this case, then have the stay resume. Courts may deny

leave to amend where the amendment requested is to achieve a tactical advantage or otherwise in

bad faith. See Auster Oil & Gas, Inc. v. Stream, 764 F.2d 381, 391 (5th Cir. 1985). The Court

should see through Micron’s transparent attempts to gain a strategic advantage in this case and

find that Micron’s amendment is sought in bad faith. See, e.g., G&C Land v. Farmland Mgmt.

Servs., 587 Fed. Appx. 99, 103 (5th Cir. 2014) (affirming district court’s denial of motion for

leave to amend in part because amendment was sought for an improper purpose).

III.   CONCLUSION

       The Court should reject Micron’s attempt to gain an unfair tactical advantage in this case

(and acknowledge Micron’s failure to analyze the factors that govern the threshold question of

whether to lift the stay) by refusing to temporarily lift the stay to consider Micron’s Motion for

Leave. If the Court does reach the merits of Micron’s Motion for Leave, that Motion should be

denied because the proposed amendment would be futile, unduly prejudicial to Netlist, and is

sought in bad faith.




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                               CERTIFICATE OF SERVICE

       I hereby certify that counsel of record who are deemed to have consented to electronic

service are being served with a copy of this document via the Court’s CM/ECF system per Local

Rule CV-5(a) on this the 16th day of September, 2022.

                                            /s/ Jaime K. Olin
